         19-24145-rdd       Doc 67-1      Filed 06/22/20 Entered 06/22/20 15:08:36            Order to
                                              Dismiss Pg 1 of 1
                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF NEW YORK
                                             300 Quarropas Street
                                             White Plains, NY 10601


IN RE: Triax Capital Advisors LLC                         CASE NO.: 19−24145−rdd

Social Security/Taxpayer ID/Employer ID/Other Nos.:       CHAPTER: 11
37−1831326




                                         NOTICE OF DISMISSAL



An order of dismissal was entered by the Honorable Robert D. Drain in this Chapter 11 case.

Triax Capital Advisors LLC was dismissed from the case on June 22, 2020 .




Dated: June 22, 2020                                       Vito Genna
                                                           Clerk of the Court
